        Case 4:23-cv-03187 Document 8 Filed on 09/21/23 in TXSD Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

MARISA CATOTA, INDIVIDUALLY AND                    §
ON BEHALF OF ALL OTHERS SIMILARLY                  §
SITUATED,                                          §
Plaintiff                                          §
                                                   §
V                                                  §       CIVIL ACTION NO. 4:23-cv-3187
                                                   §
TIERRA VIVA, INC., AND                             §
EDUARDO LOPEZ, INDIVIDUALLY.                       §
Defendants                                         §
                                                   §

                      UNOPPOSED MOTION TO EXTEND ANSWER DEADLINE

            Under Rule 6(b), Defendants Tierra Viva, Inc. and Eduardo Lopez, individually,

respectfully requests an extension of their answer deadline. Defendants’ answer is currently due

on September 25, 2023. Fed R. Civ. P. 12(a).

            Plaintiff is unopposed to Defendants’ first request for a 30-day extension of time to file the

answer, making Wednesday, October 25, 2023, the new answer deadline.

            The request is necessary because counsel for Defendants already has a deposition

scheduled for September 25, 2023 and also has multiple other deadlines that prevent him from

fully preparing an answer by the current deadline. Defendants retained Mr. Chavez only yesterday,

September 25, 2023. Defendants’ counsel believes this case can be resolved very soon without

further litigation.

            For the foregoing reasons, Defendants content good cause exists to revise the deadline.

Considering counsel’s other commitments and deadlines, the proposed extension will provide

adequate time to prepare the answer.




                                                       1
      Case 4:23-cv-03187 Document 8 Filed on 09/21/23 in TXSD Page 2 of 2




                                        Request for Relief

       Defendants respectfully requests that the Court extend the deadline to file an answer to

Plaintiff’s Original Complaint to October 25, 2023. Defendants respectfully pray further for all

other relief to which they may be justly entitled under law and equity.

                                                     Respectfully Submitted,

                                                     KEVIN M. CHAVEZ, PLLC

                                                     /s/ Kevin M. Chavez
                                                     Kevin M. Chavez
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                                                     6260 Westpark Dr., Suite 303
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                                                     866-929-1647 Facsimile
                                                     ATTORNEY-IN-CHARGE FOR
                                                     DEFENDANTS


                        CERTIFICATE OF SERVICE AND CONFERENCE

        I certify that on September 21, 2023, a copy of the foregoing pleading was served
on all counsel of record via the Court’s ECF system. I further certify that Counsel for
Plaintiff is unopposed to the relief requested, stating so in a phone call and email on
September 21, 2023

                                                     /s/ Kevin M. Chavez
                                                     Kevin M. Chavez




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